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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Ziliang Jin,                                     Case No. 25-CV-01391 (JMB/JFD)

               Plaintiff,

v.                                                   ORDER OF DISMISSAL

Kristi Noem, Secretary of Department of
Homeland Security, in her official
capacity; Todd Lyons, Acting Director of
Immigration & Customs Enforcement, in
his official capacity; and U.S. Immigration
& Customs Enforcement,

               Defendants.


       This matter is before the Court on Plaintiff Ziliang Jin’s and Defendants Kristi

Noem’s, Todd Lyons’s, and U.S. Immigration and Customs Enforcement’s Joint

Stipulation for Dismissal. (Doc. No. 37.) Jin wishes to dismiss his Amended Complaint

(Doc. No. 11) under Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and pursuant to the

conditions agreed to by Defendants (see Doc. No. 37 at ¶¶ 1-6).

       Therefore, IT IS HEREBY ORDERED that the Amended Complaint (Doc. No. 11)

is DISMISSED WITH PREJUDICE, and each party shall bear their own costs and

attorneys’ fees.

       LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: May 20, 2025                                   s/Jeffrey M. Bryan
                                                      Judge Jeffrey M. Bryan
                                                      United States District Court
